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OR\G\N~l                IN THE UNITED STATES DISTRlCT COURT
                        FOR THE NORTHERN DISTRlCT OF TEXAS
                                FORT WORTH DIVISION

 UNITED STATES OF AMERlCA

 v.                                                         Case No. 4:16-CR-132-A
                                                            (Supersedes Indictment returned on
 MICHAEL BARRETT                                            June 7, 2016 adding defendants 20-31
 a/k/a "Motorcycle Mike"                 (20)               only)
 JERRY DUARTE
                                                                   ··-~·····"-------------··--· ··-··-------~---,
 a/k/a "Mex Jerry"                       (21)                         l:.~~-   DISTRICT COU!U
 HOLLY LEANNE FRANTZEN                   (22)                   l'ORTHERN DISTRICT OF 'J LXAS
 JAKE LINDSEY HARDIN                                                            FILE=D'---,
                                                                      [~~51QIG
 a/k/a "Cash"                            (23)
 MICHAEL CLAY HEASLET
 a/k/a "Whisper"                         (24)
 NICOLE CYNTHIA HERRERA                                           CLERK, lJ.S. DISTRICT COURT
 a/k/a "Nikki Single"                    (25)                      BY--~------­
                                                                              Dcputy
 MEGAN KEMP                              (26)
 JOSHUA JAMES MILSON
 a/k/a "Knucklehead"                     (27)
 JOE DARRELL PIERCE                      (28)
 TRAESHORT
 a/k/a "Twig"                            (29)
 SHAUNA LYNN VICKERS                     (30)
 ADRlANBLAIR WALLACE                     (31)

                           SECOND SUPERSEDING INDICTMENT

 The Grand Jury Charges:

                                                Count One

            Conspiracy to Possess with Intent to Distribute a Controlled Substance
                               (Violation of21 U.S.C. § 846)

         Beginning in or before January 2014, and continuing until in or around April

 2016, in the Fort Worth Division of the Northern District of Texas, and elsewhere,

 defendants Michael Barrett, also known as Motorcycle Mike,
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Jerry Duarte, also known as Mex Jerry, Holly Leanne Frantzen, Jake Lindsey

Hardin, also known as Cash, Michael Clay Heaslet, also known as Whisper, Nicole

Cynthia Herrera, also known as Nikki Single, Megan Kemp, Joshua James Milson,

also known as Knucklehead, Joe Darrell Pierce, Trae Short, also known as Twig,

Shauna Lynn Vickers and Adrian Blair Wallace, along with Tonya Blackwood,

Rachel Adams and Matthew Rutledge, not named as defendants herein, and others known

and unknown, did knowingly and intentionally combine, conspire, confederate, and agree

to engage in conduct in violation of21 U.S.C §§ 841(a)(l) and (b)(l)(B), namely to

possess with intent to distribute 50 grams or more of a mixture and substance containing

a detectable amount of methamphetamine, a Schedule II controlled substance.

       In violation of21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(l)(B)).


                                         A TRUE BILL.




                        TTORNEY


s
Assistant United States Attorney
Texas State Bar No. 24033206
80 I Cherry Street, Suite 1700
Fort Worth, Texas 76102
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FORT WORTH                                                         FOREPERSON




Defendants 20, 24, 29 & 31 in Federal Custody. Warrants to issue for defendants
21-23, 25-28 & 30.




                                        ES MAGISTRATE JUDGE
                         4:16-MJ- 6 (24)(29); 4:16-MJ-163 (25)(27); 4:16-MJ-166
                                   ); 4:16-MJ-167 (21)(30)(31); 4:16-MJ-169
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                   . IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION



                       THE UNITED STATES OF AMERICA

                                           v.

                             MICHAEL BARRETT (20)
                              a/k/a "Motorcycle Mike"
                               JERRY DUARTE (21)
                                  a/k/a "Mex Jerry"
                         HOLLY LEANNE FRANTZEN (22)
                           JAKE LINDSEY HARDIN (23)
                                     a/k/a "Cash"
                          MICHAEL CLAY HEASLET (24)
                                   a!k/a "Whisper"
                         NICOLE CYNTHIA HERRERA (25)
                                a/k/a "Nikki Single"
                                MEGAN KEMP (26)
                           JOSHUA JAMES MILSON (27)
                                a/k/a "Knucklehead"
                            JOE DARRELL PIERCE (28)
                                 TRAE SHORT (29)
                                     a/k/a "Twig"
                          SHAUNA LYNN VICKERS (30)
                          ADRIAN BLAIR WALLACE (31)


                       SECOND SUPERSEDING INDICTMENT

                21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(1)(B))
         Conspiracy to Possess with Intent to Distribute a Controlled Substance
                                        1 Count

A true bill rendered
